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Michae! Sarna 01042-424 AjA/20,11525 AM

From: law6447 <iaw6447@aol.cam>
To; PEX/ExecAssistant~ <PEX/ExecAssistant~@bop.gov>; GRA-DSC/PolicyCorrespondence <GRA-
DSC/PolicyCorrespondence@bop.gov>, LEWExecAssistant <LEWExecAssistant@bop.gov>
Subject: Michael Sarno 01042-424
Date: Sat, Apr 4, 2020 11:22 am

To whom it may concern,

In the spirit and necessity create by Covid-19 and Attarney General Barr's recommendation that high risk Covid-19
inmates be released, | would ask the Michael Sarno who Is incarcerated in Petersberg be considered for any such
program based on the following:

1. Mr. Sarno is 62 years of age and has served of nine (9) years of his sentence.

2. Mr. Sarno and | have been requesting the a shoulder and knee surgery be scheduled for over a year now to no avail.
He is no relegated to a wheel chair and is not ambulatory. This condition puts his at risk due to lack of mobility and is a
negative for his immune system.

3. Mr. Sarno suffered form pneumonia and respiratory issues which have been addressed during his incarceration.
However, he has not received a pneumonia shot in over three (3) years despite his requests. This condition in and of
itself puts him in the high risk category not to mention the lack of the treatment he has not received.

4. If released to house arrest he would be compliant as a condition for his pretrial release he was placed on house arrest
and was totally compliant without any violation.

We understand the BOP is not prepared for the Cover-19 outbreak as not only are country but countries throughout the
world. You need to maximize your resources and an inmate such as Mr. Sarno (excuse my language) would only get in
the way and be a burden on the resources you have available. | would hope that given the nature of the situation we are
all facing thai this be considered as such would be in all parties mutual best interests.

Please let me know your thoughts on such as while Mr.Sarno does have quite a bit of time remaining on his sentence, he
did nat get sentenced to death and my concern and the concern of both him and his family is that if he remains
incarcerated, he will die from this virus given his personal high risk due to his health conditions and the lack of treatment
the BOP will be able to give him due tc your limited resources.

| hope common sense and passion dictates here over policies that were not prepared with this pandemic in mind.
Sincerely

Ed Wanderling

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